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1    LAWRENCE A. ORGAN (SBN 175503)
     larry@civilrightsca.com
2    NAVRUZ AVLONI (SBN 279556)
3    navruz@civilrightsca.com
     CIMONE A. NUNLEY (SBN 326915)
4    cimone@civilrightsca.com
     CALIFORNIA CIVIL RIGHTS LAW GROUP
5
     332 San Anselmo Avenue
6    San Anselmo, California 94960
     Telephone:     (415)-453-7352
7    Facsimile:     (415)-785-7352
8
     J. BERNARD ALEXANDER (SBN 128307)
9    ALEXANDER KRAKOW + GLICK LLP
     1900 Avenue of the Stars, Suite 900
10   Los Angeles, California 90067
     Telephone:    (310) 394-0888
11
     Facsimile:    (310) 394-0811
12
     Attorneys for Plaintiff
13   OWEN DIAZ
14
                                   UNITED STATES DISTRICT COURT
15
                               NORTHERN DISTRICT OF CALIFORNIA
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     DEMETRIC DI-AZ, OWEN DIAZ, and                 Case No. 3:17-cv-06748-WHO
18   LAMAR PATTERSON,

19                   Plaintiffs,
                                                    [PROPOSED] ORDER REGARDING
20          v.                                      PLAINTIFF’S MOTIONS IN LIMINE
                                                    NOS. 1-6
21   TESLA, INC. dba TESLA MOTORS, INC.;
     CITISTAFF SOLUTIONS, INC.; WEST                Date: May 11, 2020
22   VALLEY STAFFING GROUP;
     CHARTWELL STAFFING SERVICES, INC.;             Time: 10:00 a.m.
23   and DOES 1-50, inclusive,                      Courtroom: 2, 17th Floor
                                                    Judge: Hon. William H. Orrick
24          Defendants.
                                                    Trial Date: June 8, 2020
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                                                    Complaint filed: October 16, 2017
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                                             1                      Case No. 3:17-cv-06748-WHO
                 [PROPOSED] ORDER REGARDING PLAINTIFF’S MOTIONS IN LIMINE NOS. 1-6
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1                                        [PROPOSED] ORDER
2           On May 11, 2020 at 10:00 a.m., Plaintiff Owen Diaz’s (“Plaintiff”) Motions in Limine
3    were heard by the Hon. William H. Orrick via telephonic hearing. All parties were represented
4    by counsel.
5           After consideration of the papers and evidence submitted, and of the oral arguments by
6    the respective parties, the Court makes the following orders with respect to Plaintiff’s Motions in
7    Limine Nos. 1-6 as follows:
8       1. Plaintiff’s Motion in Limine No. 1 to exclude lay opinion testimony that racial slurs are
9           not offensive is hereby
10          ______ GRANTED
11          ______ DENIED
12      2. Plaintiff’s Motion in Limine No. 2 to exclude the testimony of witness Ramon Martinez
13          is hereby
14          ______ GRANTED
15          ______ DENIED
16      3. Plaintiff’s Motion in Limine No. 3 to exclude a written statement of Ramon Martinez is
17          hereby
18          ______ GRANTED
19          ______ DENIED
20      4. Plaintiff’s Motion in Limine No. 4 to exclude testimony or evidence concerning the
21          workplace relationship between Plaintiff and Rothaj Foster is hereby
22          ______ GRANTED
23          ______ DENIED
24      5. Plaintiff’s Motion in Limine No. 5 to exclude testimony or evidence concerning
25          Plaintiff’s work performance is hereby
26          ______ GRANTED
27          ______ DENIED
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                                               2                      Case No. 3:17-cv-06748-WHO
                   [PROPOSED] ORDER REGARDING PLAINTIFF’S MOTIONS IN LIMINE NOS. 1-6
          Case 3:17-cv-06748-WHO Document 187-1 Filed 04/20/20 Page 3 of 3




1      6. Plaintiff’s Motion in Limine No. 6 to exclude testimony or evidence concerning witness
2         Demetric Di-az’s criminal history is hereby
3         ______ GRANTED
4         ______ DENIED
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6         IT IS SO ORDERED.
7
     DATED: ___________, 2020                  _______________________________________
8                                                         Hon. William H. Orrick
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              [PROPOSED] ORDER REGARDING PLAINTIFF’S MOTIONS IN LIMINE NOS. 1-6
